         Case 1:19-cr-00183-ELH Document 91 Filed 07/28/22 Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

 UNITED STATES                                   :
                                                 :
                                                 :
        v.                                       :         Case No. ELH-19-183
                                                 :
 IGOR ROSENSTEEL                                 :
                                                 :
        Defendant.                               :


                                           NOTICE

       On July 27, 2022, the Court docketed a pro se motion for compassionate release filed by

Mr. Rosensteel. The Office of the Federal Public Defender will not be supplementing Mr.

Rosensteel’s pro se motion or asking for appointment of counsel in this matter. Additionally, the

Federal Public Defender does not have additional documents regarding the exhaustion of

administrative remedies that were not previously submitted to this Court.


                                     Respectfully submitted,

                                     JAMES WYDA
                                     Federal Public Defender for the District of Maryland

                                                   /s/
                                     SAPNA MIRCHANDANI
                                     Assistant Federal Public Defender
                                     Office of the Federal Public Defender
                                     6411 Ivy Lane, Suite 710
                                     Greenbelt, Maryland 20770
                                     Phone: (301) 344-0600
                                     Fax: (301) 344-0019
                                     Email: Sapna_Mirchandani@fd.org
